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                               UNITED STATES DISTRICT COURT
                               SO U TH ER N DISTR ICT O F FLO RID A
                             CASE N O .:19-20544-CIV-M ARTINEZ/AOR

   LA RRY K LA Y M AN ,
         Pro se Plaintiff,



   TH OM AS J.FITTON ,

         D efendant.


                          O RD ER DEN Y IN G M O TIO N T O C O M PEL

         THIS CAUSE camebeforethe Courtujon PlaintiffLarry Klayman's(tiplaintifp'or
  CGKlayman'')M otion toCompelDefendantThomasFitton (Cr efendant''orGTitton''ltoAnswer
  DepositionQuestionsPosedonJune6,2019(çiMotiontoCompel'')(D.E.32).Thismatterwas
  referredtotheundersignedpursuantto28U.S.C.j636bytheHonorableJoseE.M artinez,United
  StatesDistrictJudge (D.E.5j.Forthereasonsstatedbelow,thetmdersigneddeniestheM otion
  to Com pel.

                                 PR O CED U R AL BA C K GR O UN D

         In thisaction,Klayman bringsclaimsfordefam ation,defam ationperseand defamation by

  implicationagainstFitton.SeeComplaintforDefamation (D.E.1q. Asthebasisfortheseclaims
  againstFitlon,Klaym an citesa January 18,2019 video posted on the Internetby Roger Stone

  stating thatK laym an CGw asousted atJudicialW atch. A sk Tom Fitton w hy he left. H e leftbecause

  of'asexualharassmentcomplaint.''1d.!! 15-16.
         On M arch 4,4019,Defendantfiled a M otion to Dism issforLack ofPersonalJurisdiction

  (slM otiontoDismiss'')ED.E.6j.lnsupportoftheM otiontoDismiss,DefendantfiledaDeclaration
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   pursuantto 28 U.S.C.j 1746,wherein he denied having any contacts with Florida,exceptto
   conductbusinesson behalfofJudicialW atch (wherehe servesaspresident),and one personal
  vacationtrip inthepast20years. SeeDeclarationUnderPenalty ofPerjury ofThomasJ.Fitton
   (ççDeclaration'')ED.E.6-11. In hisOppositionto theM otion to Dismiss,Plaintiffargued thathe
   should brallowed to conductjurisdictionaldiscoverytotesttheveracity oftheDeclaration.See
   OppositiontoM otiontoDismissED.E.8at241.
          OnM ay21,2019,thetmdersignedheldahearing onDefendant'sM otiontoDismissED.E.
  231. Atthe hearing,the undersigned allowed Plaintiff to Gtconduct a z-hour deposition of
                                                                       '
                      .

  Difendantlimitedtopersonaljurisdictiondiscovery.''SeeOrder(D.E.24at11.Thedeposition
  too
    'k place on June 6, 2019. SeeTranscrijtofDeposition ofThomasJ.Fitton (stTranscripf')

  ED.E.32-1j,Plaintiffnow askstheCourttocompelDefendanttoanswereleven questionsthat
  were asked butnot answered during the course of Defendant's deposition. See M otion to

  CompelED.E.32 at4-5q.Although Plaintiffonly certifiedQuestions1-9listed in theM otion
  to Compelatthedeposition,seeTranscript(D.E.32-1at4),theundersigned willaddressa1l
  eléven questionslisted in the M otion to Com pel.l

                                         A PPLICA B LE L A W

         Rule37 oftheFederalRulesofCivilProcedure($çRu1e375')providesthatam otionto
  com pelm ay be m ade in casesw here ;:adeponentfailsto answera question asked underRule

  30 or31.'' Fed.R.Civ.P.37(a)(3)(B)(i). Rule 30 oftheFederalRulesofCivilProcedure

    Plaintiffcertified threeadditionalquestionsatthe deposition thatare notlisted in theM otion to Compel.
  Compare Transcript(D.E.32-1 at4)with M otion to CompelED.E.32 at4-51. The omitted certified
  questionsare:
             * çdAreyou a law yer,M r.Fitton?''
             . ççAreyou a Iawyer,M r.Fitton?''
             @ StW hy isitin here?Justto sméarme with the Coulr ''
  SeeTranscriptED.E.32-1at4).Becausethesethreequestionswereomittedfrom theM otion to Compel,
  theunderjigned deem sthem abandoned.
                                                    2
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   (1çRule30'5)providesthatadeponentmaybeinstructednottoansweraquestionwhennecessary
   çsto preserve a privilege''and çlto erlforce a lim itation ordered by the court.'' Fed.R.Civ.P.

   30(c)(2).2
                                            DISCUSSION

          As noted above,the undersigned allowed Plaintiff to take Defendant's deposition

   Cilimited to personalJ'urisdiction diseovery.'' See Order ED.E.24 at 1q. Thus,Defendant's
   counselwasperm itted by Rule 30 to instructhisclientnotto answerquestionsthatexceeded

   this lim itation.

          First,the undersigned findsthatthe following questionsare facially outside the seope

  ofthepersonaljurisdiction discovery thattheundersigned allowed Plaintiffto conductwith
  respectto Defendant:

          Question 1: Gdgwlhowrotethesrstdraftof(DefendantFitton'sjaffidavit?g,q''
          Question3: Gdgwjhat was your interest at Judicial W atch in getting documents
                     concerningtheraidonRogerStone'shouse?g,j''
          Question4: içgnqow it's a pretty important issue, is it not, the behavior of the
                         specialcotm selwho is underthe D epartm entof Justice w ith regard to the
                         raid on RogerStone'shouse?g...)''tGgsqomething thatyou're touting in
                        thepressreleaseisanim portantissueforthepublictogetdocumentsabout,
                         correct?g,j''
          Question5: SçgyjouhavetoldM r.Peterson in thepast,haveyou not,that1wasousted
                     f'
                      rom JudicialW atchbecauseofasexualharassmentcomplaint?gyj''3

  2 80th sidesreferencethe Discovel.y PracticesH andbook thatwasadopted asa published appendix to the
  Southelm District ofFlorida LocalGeneralRules in 1996. See In Re:Adoption ofDiscovery Practices
  Handbook asA ppendix to LocalRules,S.D .Fla.A dm in.Order96-36. How ever,the Discovery Practices
  Handbook is no longer in force,since the LocalRules were am ended in 2014 çlto include a statement
  regardingprofessionalpracticeretained from the SothernD istrictofFloridaD iscovery PracticesHandbook,
  which hasbeen elim inated.''SeeIn Re:Amendm entsto theLocalRulesN otice ofProposed Am endments,
  ofOpportunity forPublicComm ents,and ofH earing toReceive Comm ents,S.D .Fla.Adm in.Order2014-
  95. Therefore,the undersigned willnotaddressthe parties'argumentsm ade in reliance on the Discovery
  PracticesH andbook.
  3 Defendant's counselmade a privilege,rather than a scope objection,with regard to this question.
  Regardless,thequestiondoesnotaddresstheissueofpersonaljurisdictionoverDefendantinFlorida.
                                                   3
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         Question6: ççralfterIsued youin thisparticularcasehasanyone-haveyouoranyone
                    atJudicialW atchoryourcounseltriedtocontaclRogerStone?gyj''
         Question 10: çslnjow you haveinthelast16yearstoldmanypeople,andI'm excluding
                       any attorneys,exactly whatisw ritten in this affidavitand which you sw ore
                       tounderoath?g,j''.
  Therefore,Defendant'scotm selproperly instructed hisclientnotto answerthesequestions.

         Next,theundersigned addressesquestionsrelated toDefendant'sreceiptofan awardfrom
    :
  theCotmcilforNationalPolicy(ççCNP'')inOrlandoinFebruary2017:
         Question2: ttgwjhoiscurrentlythepresidentofCNP?(,q''
         Question7: çsgnlow,yourwork is listed butCNP is nota memberof- excuse me,
                    yourworkislistedbutJudicialW atchisnotamemberofCNP,correct?g,j''
         Question8: Stlaqnd you're aware that the individuals that are members of CNP it
                    listswheretheyworkbutthatwheretheyworkarenotmembers?l,q''
  Defendant'scounselinitiallyinstructedDefendantnottoanswerQuestion2 onthegroundsthat
  itexceeded the deposijion scope lim itations. Later,Defendanttestified thatJudicialW atch

  Pakticipatesin CNP through him and thathismembership in CNP ispaid by JudicialW atch.
  See Transcript ED.E.32-1 at201. W hen Plaintiffasked Question 7,Defendant's counsel
    :

  obj
    'ectedonthegroundsofSsaskedandanswered''anddirectedDefendantnottoanswerit.W ith
  regardtoQuestion8,Defendant'scounselobjectedtoitasargumentativeandDefendantstated
  he,did notunderstand thequestion.

         Although Questions2,7and 8,taken together,didnotfacially exceedthescopeofthe
  deposition, Defendant suffciently testifed regarding his CN P m em bership for personal
    2
  juf!isdictionpurposes.
        N ext,the undersigned addresses:

         Question9: S'gylougotaspenkingfeeforyourappearancethere,didyounot?g,j''
    1
  Thisquestionrelated to apriorquestion regarding an interview given to aJason Goodman of
                                               4
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   Crow d SourcetheTruth in Florida.Defendanttestifiedthatherem em bered givingan interview

   toaguywhosenameandwhoseIntem etsite'snamehedidnotremember.SeeTranscriptED.E.
   3i-1 at252. Defendant's counselobjected on the grounds of Gçasked and answered,''and
   D bfendantstated he had already answ ered questions on speaking fees. Therefore,Defendant

   suftk iently answered thisquestion.

         Finally,the undersigned addresses:

         Question 11: Sçlaqnd you are awarethatthere are forensic waysto recreatedeleted e-
                      mailsfrom harddrives?r.j''
   Defendant'scounselobjected to thisquestion on the groundsthatitwasargumentative and
    ;
   hqrassing,afterD efendanthad testifed atlength regàrding how hehandlesand storesem ails.

   Theundersignedfindsthatthisquestion doesnotaddresstheissueofpersonaljurisdictionover
  Defendantin Florida.

                                         C O N C LU SIO N

         Based on theforegoing considerations,itis

         ORDERED AND A DJIJD GED thatPlaintiff'sM otion to Com pelisDENIED.
                                                                    '
                                                                    <<
         DONE AND ORDERED in ChambersatM iami,Floridathis//=dayofJuly,2019.

                                                      W A O.
                                                          '.
                                                    ALICIA M .OTA ZOX YES
                                                    UM TED STA TES M AGISIR A'IE JU D GE

   cc:   United StatesDistrictJudge JoseE.M artinez
         CounselofR ecord
